Case 15-63347-jwc      Doc 87    Filed 06/02/20 Entered 06/02/20 14:18:19          Desc Main
                                 Document      Page 1 of 6



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      :      CHAPTER 7
                                            :
HCG SOFTWARE, LLC,                          :      CASE NO. 15-63347-JWC
                                            :
         Debtor.                            :
                                            :

   MOTION FOR ORDER APPROVING AGREEMENT UNDER RULE 9019 OF THE
             FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of HCG Software, LLC (the “Debtor”), by and through the

undersigned counsel, and files his Motion for Order Approving Agreement under Rule 9019 of

the Federal Rules of Bankruptcy Procedure (the “Settlement Motion”). In support of the

Settlement Motion, Trustee respectfully shows the Court as follows:

                                   Jurisdiction and Venue

         1.    This Court has jurisdiction over this Settlement Motion under 28 U.S.C. §§ 157

and 1334. Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. The

statutory predicate for the relief sought in this Settlement Motion is Rule 9019 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). This Settlement Motion is a core

proceeding under 28 U.S.C. § 157(b)(2).

                                       Relief Requested

         2.    By this Settlement Motion, the Trustee requests that the Court approve an

agreement between the Trustee and William C. Smith, Jr. (“Mr. Smith”).

                                          Background

         3.    On July 16, 2015 (the “Petition Date”), Debtor filed a voluntary petition under




15038885v1
Case 15-63347-jwc       Doc 87     Filed 06/02/20 Entered 06/02/20 14:18:19             Desc Main
                                   Document      Page 2 of 6



Chapter 7 of Title 11 of the United States Code in the United States Bankruptcy Court, Northern

District of Georgia, Atlanta Division (the “Bankruptcy Court”). Shortly thereafter, the Trustee

was appointed and remains the duly acting Chapter 7 trustee for the Bankruptcy Estate.

        4.     Prior to the Petition Date, Debtor designed and developed enterprise solutions

focusing on business reporting, capital planning, budgeting, accounting, and payroll.

        5.     Debtor is a State of Georgia Limited Liability Company, and, although it formerly

operated out of Portland, Oregon, it had customers throughout the United States.

        6.     Mr. Smith is the former director and managing member of Debtor and owns 41%

of the equity interests of Debtor. See [Doc. 1 at Page 17 of 74].

        7.     Prior to the Petition Date, Mr. Smith made certain loans to the Debtor (the

“Loans”).

        8.     On the Petition Date, in addition to the voluntary petition for relief, Debtor filed

its statement of financial affairs and schedules, which were signed by Mr. Smith under penalty of

perjury (the “Schedules”). See [Doc. 1 at Page 6-74 of 74].

        9.     On Schedule D – Creditors Holding Secured Claims, Debtor scheduled a claim of

Mr. Smith as fully secured in the amount of $245,920.16. See [Doc. No. 1 at Page 29 of 74].

        10.    On Schedule F – Creditors Holding Unsecured Nonpriority Claims, Debtor

scheduled an unsecured claim of Mr. Smith in the amount of $2,217,675.00. See [Doc. No. 1 at

Page 46 of 74].

        11.    On November 2, 2015, Mr. Smith filed Proof of Claim No. 18-1 in the amount of

$2,450,019.46, alleging that Debtor owed him this amount as of the Petition Date.

        12.    There are insufficient assets in the Bankruptcy Estate to repay the Loans,

therefore a cancellation of debt (“COD”) will occur. Under applicable law, if a debt is cancelled,



                                                 2
15038885v1
Case 15-63347-jwc             Doc 87       Filed 06/02/20 Entered 06/02/20 14:18:19                       Desc Main
                                           Document      Page 3 of 6



the amount of the canceled debt may be taxable and would be reported to the Internal Revenue

Service as cancellation of indebtedness income. Since the Debtor is a “pass through” entity for

tax purposes, the owners of the Debtor may have the burden of paying the resulting tax

obligations, which may be significant.

          13.      Mr. Smith disagrees with the resulting tax consequences described above.

Therefore, on March 25, 2020, he filed the Motion to Treat Shareholder Advances as Capital

Contributions [Doc. No. 84] (the “Motion to Convert”).

          14.      Following the filing of the Motion to Convert, Trustee determined that under

Section 108 of the Internal Revenue Code, to convert debt to equity, there is COD income to the

extent that the value of the equity is less than the value of the debt. Furthermore, since the equity

in the Debtor is worth $0, the entire amount of the Loan is COD income, and Mr. Smith must

contribute new value to the Debtor in an amount equal to the debt for the debt to convert to

equity.

          15.      Mr. Smith disagrees with Trustee’s position that Mr. Smith must contribute new

value to the Debtor for the debt to convert to equity (the “Tax Consequence Dispute”).

                                            The Proposed Settlement

          16.      Following negotiations, and subject to the approval of this Court, to resolve the

Tax Consequence Dispute, Mr. Smith and Trustee (together, the “Parties”) have agreed that Mr.

Smith will assume the obligation to file any additional and final tax returns1 on behalf of the

Debtor, and Trustee will be absolved of any obligation to file an additional tax return on behalf

of the Debtor (the “Agreement”), so that Mr. Smith can handle the resulting tax consequences of

the Loan, as he deems appropriate.



1
          The extended due date of these tax returns will fall after the date of any order approving the instant Motion.


                                                           3
15038885v1
Case 15-63347-jwc        Doc 87    Filed 06/02/20 Entered 06/02/20 14:18:19              Desc Main
                                   Document      Page 4 of 6



                                          Basis for Relief

        17.    Federal Rule of Bankruptcy Procedure 9019(a) provides, in pertinent part, that

“[o]n motion by Trustee and after notice of a hearing, the court may approve a compromise or

settlement.” Fed. R. Bankr. P. 9019(a). The standard in this Circuit for determining whether to

approve a compromise or settlement pursuant to Rule 9019(a) is set forth in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990), cert. denied, 498 U.S.

959 (1990), in which the Eleventh Circuit stated as follows:

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

               (a) The probability of success in the litigation; (b) the difficulties,
               if any, to be encountered in the matter of collection; (c) the
               complexity of the litigation involved, and the expense,
               inconvenience and delay necessarily attending it; (d) the
               paramount interest of the creditors and a proper deference to their
               reasonable views in the premises.

Id. at 1549. In making its evaluation, a court must not rest its approval of the settlement on a

resolution of the ultimate factual and legal issues underlying the compromised disputes. In re

Teltronics Servs., Inc., 762 F.2d 185, 189 (2d Cir. 1985). Rather, the court should consider the

probable outcome of the litigation, including its advantages and disadvantages, and make a

pragmatic decision based on all equitable factors. Florida Trailer and Equip. Co. v. Deal, 284

F.2d 567, 571 (5th Cir. 1960).2

        18.    The proposed Agreement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.



2
        In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the
Eleventh Circuit Court of Appeals adopted as binding precedent the decisions of the former Fifth
Circuit issued before October 1, 1981.

                                                 4
15038885v1
Case 15-63347-jwc       Doc 87     Filed 06/02/20 Entered 06/02/20 14:18:19             Desc Main
                                   Document      Page 5 of 6



        19.    Given the potential time and expense of litigating these complex issues and

considering that (a) control of the Debtor will be returned to the principals following the close of

the bankruptcy case, and (b) the Debtor is not a tax paying entity and the filing of the tax returns

will have no impact on the administration of the Bankruptcy Estate, the proposed Agreement

represents an advantageous result for the Bankruptcy Estate and falls within the range of

reasonableness required under Justice Oaks.

        20.    Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Agreement.

        WHEREFORE, the Trustee respectfully requests that the Court enter an Order (i)

granting this Settlement Motion; (ii) authorizing Trustee to take actions reasonably necessary to

effectuate the terms of the Agreement; (iii) absolving Trustee of the obligation to file additional

tax returns on behalf of the Debtor; (iv) obligating Mr. Smith to file any additional tax returns on

behalf of the Debtor; and (v) granting to the parties such other and further relief as the Court

deems just and appropriate.

        Respectfully submitted this 2nd day of June, 2020.

                                                     ARNALL GOLDEN GREGORY LLP
                                                     Attorneys for Trustee

                                                     By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                           Michael J. Bargar
Atlanta, GA 30363                                         Georgia Bar No. 645709
(404) 873-8500                                            michael.bargar@agg.com




                                                 5
15038885v1
Case 15-63347-jwc       Doc 87     Filed 06/02/20 Entered 06/02/20 14:18:19            Desc Main
                                   Document      Page 6 of 6




                                  CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that I have this day
served a true and correct copy of the foregoing Motion for Order Approving Agreement under
Rule 9019 of the Federal Rules of Bankruptcy Procedure by first class United States mail on the
following persons or entities at the addresses stated:

Office of the U.S. Trustee                           Department of the Treasury –
362 Richard B. Russell Building                      Internal Revenue Service
75 Ted Turner Drive, SW                              P. O. Box 7346
Atlanta, GA 30303                                    Philadelphia, PA 19101-7346

S. Gregory Hays                                      Department of the Treasury –
Hays Financial Consulting, LLC                       Internal Revenue Service
2964 Peachtree Rd, NW, Suite 555                     P. O. Box 7317
Atlanta, GA 30305                                    Philadelphia, PA 19101-7317

Robert B. Campos                                     Internal Revenue Service
Law Office of Robert B. Campos                       P. O. Box 7346
Suite 109 - #317                                     Philadelphia, PA 19101-7346
2774 N. Cobb Parkway
Kennesaw, GA 30144                                   The Internal Revenue Service
                                                     c/o Special Assistant U.S. Attorney
Gregory D. Ellis                                     401 W. Peachtree Street
Lamberth, Cifelli, Ellis & Nason, P.A.               Stop 1000-D
6000 Lake Forrest Drive, NW                          Atlanta, GA 30308
Suite 435
Atlanta, GA 30328-3896                               Internal Revenue Service
                                                     401 W. Peachtree St. NW
Internal Revenue Service                             Stop 334-D
1111 Constitution Avenue, NW                         Atlanta, GA 30308-3539
Washington, DC 20224


        This 2nd day of June, 2020.

                                                            /s/ Michael J. Bargar
                                                            Michael J. Bargar
                                                            Georgia Bar No. 645709




15038885v1
